






NO. 07-01-0129-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



OCTOBER 17, 2001



______________________________




THE STATE OF TEXAS, APPELLANT



V.



RANDY JAMES RODRIGUEZ, APPELLEE




_________________________________



FROM THE 242ND DISTRICT COURT OF HALE COUNTY;



NO. B 13733-0005; HONORABLE ED SELF, JUDGE



_______________________________



Before BOYD, C.J., and REAVIS and JOHNSON, JJ.

ON MOTION TO DISMISS


	The State of Texas brought an appeal from an order granting a motion to suppress
a written statement given by appellee Randy James Rodriguez, which was to be used as
evidence in his prosecution for the offense of burglary of a habitation.  However, the State
has now filed a withdrawal of its notice of appeal and a motion to dismiss because
Rodriguez has been convicted of aggravated sexual assault in another proceeding and
sentenced to 99 years confinement for that conviction and has also agreed to plead guilty
to the offense which is the subject of this appeal, with the sentence to run concurrently with
the sentence for the aggravated sexual assault conviction.  

	Because the motion meets the requirement of Texas Rule of Appellate Procedure
42.2(a), and this court has not delivered its decision prior to receiving it, the motion is
hereby granted, and the State's appeal is dismissed.  Having dismissed the appeal at the
State's request, no motion for rehearing will be entertained, and our mandate will issue
forthwith.  


							John T. Boyd

							 Chief Justice


Do not publish.



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NO. 07-10-00376-CR

&nbsp;

IN THE COURT OF APPEALS

&nbsp;

FOR THE
SEVENTH DISTRICT OF TEXAS

&nbsp;

AT
AMARILLO

&nbsp;

PANEL B

&nbsp;



JUNE
15, 2011

&nbsp;



&nbsp;

SALVADOR GONZALES, JR., APPELLANT

&nbsp;

v.

&nbsp;

THE STATE OF TEXAS, APPELLEE 



&nbsp;



&nbsp;

&nbsp;FROM THE 222ND DISTRICT COURT OF
DEAF SMITH COUNTY;

&nbsp;

NO. CR-10C-029; HONORABLE ROLAND D. SAUL, JUDGE



&nbsp;



&nbsp;

Before QUINN,
C.J., and CAMPBELL and HANCOCK, JJ.

&nbsp;

MEMORANDUM OPINION

Appellant, Salvador Gonzales, Jr, pleaded guilty to the first degree felony offense of
injury to a child.[1]&nbsp; After hearing the punishment evidence, a jury
assessed appellants punishment at confinement in the Institutional Division of
the Texas Department of Criminal Justice for a period of 65 years.&nbsp; Appellant gave notice of appeal.&nbsp; We will affirm the judgment of the trial
court.

Appellant=s attorney has filed an Anders
brief and a motion to withdraw.&nbsp; Anders
v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed. 2d 498
(1967).&nbsp; In support of his motion
to withdraw, counsel certifies that he has diligently reviewed the record, and
in his opinion, the record reflects no reversible error upon which an appeal
can be predicated.&nbsp; Id.
at 744-45.&nbsp; In compliance with High
v. State, 573 S.W.2d 807, 813 (Tex.Crim.App.
1978), counsel has candidly discussed why, under the controlling authorities,
there is no error in the trial court=s judgment.&nbsp;
Additionally, counsel has certified that he has provided appellant a
copy of the Anders brief and motion to withdraw and appropriately
advised appellant of his right to file a pro se response in this
matter.&nbsp; Stafford v.
State, 813 S.W.2d 503, 510 (Tex.Crim.App. 1991).&nbsp; The court has also advised appellant of his
right to file a pro se response.&nbsp;
Appellant has not filed a response.&nbsp;
By his Anders brief, counsel reviewed all grounds that could
possibly support an appeal, but concludes the appeal is frivolous.&nbsp; We have reviewed these grounds and made an
independent review of the entire record to determine whether there are any
arguable grounds which might support an appeal.&nbsp;
See Penson v. Ohio, 488
U.S. 75, 109 S.Ct. 346, 102 L.Ed.2d 300 (1988); Bledsoe
v. State, 178 S.W.3d 824 (Tex.Crim.App.
2005).&nbsp; We have found no such arguable
grounds and agree with counsel that the appeal is frivolous.

Accordingly, counsel=s motion to withdraw is hereby
granted and the trial court=s judgment is affirmed.[2]

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Mackey
K. Hancock

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Justice

Do not publish.











[1]
See Tex. Penal Code Ann. §
22.04(a)(1) (West 2011).

&nbsp;





[2] Counsel shall, within five days after this
opinion is handed down, send his client a copy of the opinion and judgment,
along with notification of appellant=s right to file a pro se petition for
discretionary review.&nbsp; See Tex. R. App. P. 48.4.







